     Case 3:12-cr-02575-H   Document 20   Filed 09/04/12    PageID.38    Page 1 of 1


                       UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF CALIFORNI~
                                                             12SEP -4 PM 3= 48
UNITED STATES OF AMERICA,                  CASE NO. 1             5-H.         r·!",
                                                                               L< -___

                                                                          C;~ Lit ::1-: r~:"




               vs.
                      Plainti
                                                           BY:~                  OEPO­
                                           JUDGMENT OF DISMISSAL
JORGE ANTONELLY HERNANDEZ (2),

                      Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

    an indictment has been filed in another case against the defendant and
    the Court has granted the motion of the Government for dismissal of
    this case, without prejudice; or

    the Court has dismissed the case for unnecessary delay; or

~   the Court has granted the motion of the Government for dismissal,
    without prejudice; or

    the Court has granted the motion of the defendant for a judgment of
    acquittal: or

    a jury has been waived, and the Court has found the defendant not
    guilty; or

    the jury has returned its verdict, finding the defendant not guilty;

    of the offense(s) as charged in the Indictment/Information:




          IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


DATED: SEPTEMBER 4, 2012                           WL8­
                                           William V. Gallo
                                           U.S. Magistrate Judge
